Case 1:19-cr-00127-AMD-ST Document 20 Filed 03/08/19 Page 1 of FILED
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                                                                      US DISTRICT COURT E.D.N.Y.

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F. #2018R02184                                                         BROOKLYN OFFICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                            -          X


UNITED STATES OF AMERICA                              I N DICTMENT


        - against -                                                               127
                                                      (T. 18, U.S.C., §§ 875(c)and 3551 et
LUCIO CELLI,                                           seg.)

                        Defendant.
                                                    DONNELLY, J.

                                       X


THE GRAND JURY CHARGES:
                                                     TISCIONE, M.J.
                        TRANSMISSION OF THREATS TO INJURE


                On or about November 12,2018, within the Eastern District of New York and

elsewhere, the defendant LUCIO CELLI did knowingly and intentionally transmit in

interstate commerce one or more communications containing one or more threats to injure

the person of another, to wit: communications threatening injury to John Doe and Jane Doe,

individuals whose identities are known to the Grand Jury.

               (Title 18, United States Code, Sections 875(c) and 3551 et seg.)


                                                                A TRUE BILL




                                                               FOREPERS



RICHARD P. DONOGHUE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK



  BY;
  ACTING liMlTED STATES ATI ORNEY
  pi ipsUAN^K^ ^8 C.F.R. 0.136
                 Case 1:19-cr-00127-AMD-ST Document 20 Filed 03/08/19 Page 2 of 2 PageID #: 150

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FORMDBD-34               NO.
JUN.85



                                UNITED STATES DISTRICT COURT

                                              EASTERN District of NEW YORK

                                                      CRIMINAL DIVISION


                                       THE UNITED STATES OF AMERICA
                                                                  V5.




                                                             LUCIO CELLI,

                                                                                          Defendant.



                                                       INDICTMENT

                                              (T. 18, U.S.C. §§ 875(c)and 3551 et sea-)

                               A true bill.



                                                                                            Foreperson


                         Filed in open court this                       day,

                         of                         A.D.20


                                                                                                 Clerk




                         Bail, $



                                     Kayla Bensing,Assistant U.S. Attorney (718)254-6279
